CaSe 2:05-cr-20047-.]DB Document 9 Filed 04/28/05 Page 1 of 2 Page'_|D 11

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IN THE UNITED sTATEs DIsTRIcT coURT ' '
PoR THE WEsTERN DISTRICT 01= TENNES§BE »» ge § 2 ~ ry
WESTERN DIvIsIoN " ` l ` "

 

 

UNITED STATES OF AMERICA

V.

CHARLES F. GRUBB 05cr2004'7-B

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

The defendant has this day notified the Court that he is attempting to obtain
private counsel to represent him in this action. Pursuant to the Speedy Trial Act,
as set out in 18 U.S.C. §3161(h)(8)(B)(iv), a defendant may be granted a period of
excludable delay While attempting to obtain private counsel

lt is therefore ORDERED that the time period of ?//W/V;S_

through 54 ‘/L J'§ be excluded from the time its imposed by the Speedy

Trial Act for trial of this case, While the defendant is attempting to obtain private

counsel.
ARRAIGNMENT IS RESET TO WEDNESDAY, l@ § , 2005 AT 9:30
A.M. BEFORE MAGISTRATE ]UDGE §, f %//@ e/¢/MM\._

 

 

This rl_l day of Ap¢\\/`QQ:];§\
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UNI'TED srATEs MAGISTRATE ]UDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20047 Was distributed by faX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

